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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                                              CASE NO. 6:24-cv-01573-CEM-RMN

   PENGUIN RANDOM HOUSE LLC;
   HACHETTE BOOK GROUP, INC.;
   HARPERCOLLINS PUBLISHERS LLC;
   MACMILLAN PUBLISHING GROUP, LLC;
   SIMON & SCHUSTER, LLC; SOURCEBOOKS LLC;
   THE AUTHORS GUILD; JULIA ALVAREZ;
   JOHN GREEN; LAURIE HALSE ANDERSON;
   JODI PICOULT; ANGIE THOMAS;
   HEIDI KELLOGG AS PARENT AND
   NEXT FRIEND OF R.K.; AND
   JUDITH ANNE HAYES AS PARENT AND
   NEXT FRIEND OF J.H.,

         Plaintiffs,

   vs.

   BEN GIBSON, IN HIS OFFICIAL CAPACITY AS CHAIR
   OF THE FLORIDA STATE BOARD OF EDUCATION;
   RYAN PETTY, IN HIS OFFICIAL CAPACITY
   AS VICE CHAIR OF THE FLORIDA STATE
   BOARD OF EDUCATION; ESTHER BYRD,
   GRAZIE P. CHRISTIE, KELLY GARCIA, AND
   MARYLYNN MAGAR, IN THEIR OFFICIAL CAPACITIES
   AS MEMBERS OF THE FLORIDA STATE
   BOARD OF EDUCATION; TERESA JACOBS, IN HER
   OFFICIAL CAPACITY AS CHAIR OF THE ORANGE
   COUNTY SCHOOL BOARD; ANGIE GALLO,
   MARIA SALAMANCA, ALICIA FARRANT, PAM GOULD,
   VICKI-ELAINE FELDER, KAREN CASTOR DENTEL,
   AND MELISSA BYRD, IN THEIR OFFICIAL
   CAPACITIES AS MEMBERS OF THE ORANGE
   COUNTY SCHOOL BOARD; JAMIE HAYNES, IN HER
   OFFICIAL CAPACITY AS CHAIR OF THE VOLUSIA
   COUNTY SCHOOL BOARD; ANITA BURNETTE, IN HER
   OFFICIAL CAPACITY AS VICE CHAIR OF THE
   VOLUSIA COUNTY SCHOOL BOARD; AND
   RUBEN COLÓN, CARL PERSIS, AND JESSIE
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   THOMPSON, IN THEIR OFFICIAL CAPACITIES
   AS MEMBERS OF THE VOLUSIA COUNTY
   SCHOOL BOARD,

         Defendants.
                                              /


     THE SCHOOL BOARD DEFENDANTS’ MOTION FOR SUMMARY
      JUDGMENT AND RESPONSE TO PLAINTIFFS’ MOTION FOR
                    SUMMARY JUDGMENT

         The OCSB Defendants1 and the VCSB Defendants2 (collectively, the

   “School Board Defendants”), by counsel, under Federal Rule of Civil Procedure


         1 The OCSB Defendants are the chair and the members of the Orange

   County School Board sued in their official capacities: Teresa Jacobs, Angie
   Gallo, Maria Salamanca, Alicia Farrant, Pam Gould, Vicki-Elaine Felder,
   Karen Castor Dentel, and Melissa Byrd. Official capacity claims are the same
   as claims against the government entity itself. See Redlich v. Leen, 2016 WL
   3670575, at *5 (S.D. Fla. May 20, 2016) (citing Kentucky v. Graham, 473 U.S.
   159, 165-66 (1989)). Since the Complaint’s filing, Pam Gould and Karen Castor
   Dentel are no longer members of the Orange County School Board. In these
   official capacities, Pam Gould has been replaced by Anne Douglas, and Karen
   Castor Dentel has been replaced by Stephanie Vanos. Under Federal Rule of
   Civil Procedure 25(d), member Gould’s and member Castor Dentel’s successors
   are automatically substituted as parties; however, the OCSB Defendants will
   be filing a separate motion requesting that the Court make these substitutions
   after completion of a 3.01(g) conference with all counsel.
         2 The VCSB Defendants are the chair and the members of the Volusia

   County School Board sued in their official capacities: Jamie Haynes, Anita
   Burnette, Ruben Colon, Carl Persis, and Jessie Thompson. Official capacity
   claims are the same as claims against the government entity itself. See Redlich
   v. Leen, 2016 WL 3670575, at *5 (S.D. Fla. May 20, 2016) (citing Kentucky v.
   Graham, 473 U.S. 159, 165-66 (1989)). Since the Complaint’s filing, Anita
   Burnette and Carl Persis are no longer members of the Volusia County School
   Board. In these official capacities, Anita Burnette has been replaced by Krista
   Goodrich and Carl Persis has been replaced by Donna Brosemer. Under
   Federal Rule of Civil Procedure 25(d), member Burnette’s and member Persis’s

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   56, Local Rule 3.01(a), and the Court’s Summary Judgment Briefing Schedule

   (Doc. 104), move for entry of summary judgment in their favor on all claims

   alleged against them in Plaintiffs’ Complaint (Doc. 1), and also respond to

   Plaintiffs’ Motion for Summary Judgment (Doc. 107).

                                 INTRODUCTION

         Plaintiffs, various book publishers, book authors, and two Florida high-

   school students, allege facial First Amendment constitutional challenges

   against the School Board Defendants and various state defendants,

   challenging certain portions of Florida Statute § 1006.28(2) (2024). Those

   challenged portions of the statute require the School Board Defendants to use

   the Florida Department of Education’s “objection form” to allow school-district

   parents and residents to object to school library material that is “pornographic

   or prohibited under s. 847.012,” or that “describes sexual conduct.” Fla. Stat. §

   1006.28 (2)(a)2.b(I),(II) (the “Challenged Provisions”). Plaintiffs seek a

   declaration that the “describes sexual conduct” provision is unconstitutionally

   overbroad, and that the prohibition on “pornographic” content is also

   unconstitutionally overbroad unless the Court declares that the term



   successors are automatically substituted as parties; however, the VCSB
   Defendants will be filing a separate motion requesting that the Court make
   these substitutions after completion of a 3.01(g) conference with all counsel.




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   “pornographic” must be construed as synonymous with “harmful to minors,” so

   as to supposedly save the statute.

         For the reasons below, the School Board Defendants ask the Court to

   enter summary judgment in their favor on all of Plaintiffs’ asserted claims

   against them, because Plaintiffs lack standing to bring those claims. On the

   merits of Plaintiffs’ asserted claims, the School Board Defendants defer to the

   State Defendants’ merits arguments as explained in Section II, infra.

                    STATEMENT OF UNDISPUTED FACTS

         1.    The OCSB Defendants are the chair and members of the Orange

   County School Board, a district school board constitutionally vested with the

   authority and duty to “operate, control and supervise all free public schools

   within the [Orange County School District].” Art. IX, § 4(b), Fla. Const; §

   1001.32(2), Fla. Stat.

         2.    The VCSB Defendants are the chair and members of the Volusia

   County School Board, a district school board constitutionally vested with the

   authority and duty to “operate, control and supervise all free public schools

   within the [Volusia County School District].” Art. IX, § 4(b), Fla. Const.; §

   1001.32(2), Fla. Stat.

         3.    Under Florida Statute § 1006.28(2) (2024), the Orange County

   School Board and the Volusia County School Board have “the constitutional




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   duty and responsibility to select and provide adequate instructional materials

   for all students in accordance with the requirements of this part.”

         4.     Section 1006.28 (2)(a)(2) requires the School Board Defendants to

   adopt policies regarding “an objection by a parent or a resident of the county

   to the use of a specific material, which clearly describes a process to handle all

   objections and provides for resolution. The objection form to be used “is

   prescribed by State Board of Education rule.” Id. Florida Administrative Code

   Rule 6A-7.0714(3)(a) requires the School Board Defendants to use the objection

   form incorporated into the Rule, and “the text of Part II of the template must

   not be modified” except as permitted under the Rule. Fla. Admin. Code r. 6A-

   7.0714(3)(c); see id at r. 6A-7.0714(3)(d). (“The text of the template may not be

   modified except as noted in this rule and in the incorporated template.”).

         5.     The objection form must be “easily accessible on the homepage of

   the school district’s website.” Fla. Stat. § 1006.28 (2)(a)(2).

         6.     “The [objection] Process must provide the parent or resident the

   opportunity to proffer evidence to the [school board] that: (b) Any material used

   in a classroom, made available in a school or classroom library, or included on

   a reading list contains content which:




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                   (I)    Is pornographic or prohibited under s. 847.012[1];

                   (II)   Depicts or describes sexual conduct as defined in s.

                          847.001(19)[2]

   Fla. Stat. § 1006.28 (2)(a)2.b(I),(II).

             7.    “Any material that is subject to an objection on the basis of sub-

   sub-subparagraph b.(I) or sub-sub-subparagraph b.(II) must be removed

   within 5 school days after receipt of the objection and remain unavailable to

   students of that school until the objection is resolved.” Fla. Stat. § 1006.28

   (2)(a).

             8.    “Parents shall have the right to read passages from any material

   that is subject to an objection. If the school board denies a parent the right to

   read passages due to content that meets the requirements under sub-sub-

   subparagraph b.(I), the school district shall discontinue the use of the material

   in the school district.” Id.


             [1] Section 847.012, is entitled, “Harmful materials; sale or distribution

   to minors or using minors in production prohibited; penalty,” and is contained
   within the criminal obscenity chapter of the Florida Statutes.
             [2] Section 847.001(19) defines “sexual conduct” as “actual or simulated

   sexual intercourse, deviate sexual intercourse, sexual bestiality, masturbation,
   or sadomasochistic abuse; actual or simulated lewd exhibition of the genitals;
   actual physical contact with a person’s clothed or unclothed genitals, pubic
   area, buttocks, or, if such person is a female, breast with the intent to arouse
   or gratify the sexual desire of either party; or any act or conduct which
   constitutes sexual battery or simulates that sexual battery is being or will be
   committed.


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         9.    If a school district board finds that any material “contains

   prohibited content under sub-sub-subparagraph b.(I) [i.e., that the material is

   pornographic or prohibited under Section 847.012] [the school district board]

   shall discontinue use of the material.” Id. (bracketed text added).

         10.   “If the district school board finds that any other material contains

   prohibited content under sub-sub-subparagraphs b.(II) [i.e., that the material

   depicts or describes sexual conduct as defined in Section 847.001(19)” the

   school district “shall discontinue use of the material for any grade level or age

   group for which such use is inappropriate or unsuitable.” Id. (bracketed text

   added).

         11.   The School Board Defendants are required to report, to the Florida

   Department of Education’s Commissioner of Education, materials that were

   subject to an objection, and to report materials removed. See Fla. Stat. §

   1006.28 (2)(e)(3).

                                STANDARD OF REVIEW

         If the record presents no genuine issues as to any material fact, the

   moving party is entitled to a summary judgment in the moving party’s favor.

   See Fed. R. Civ. P. 56(a).

                                    ARGUMENT

         I.    Plaintiffs lack standing to sue the School Board
               Defendants.



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         A.    Plaintiffs lack prudential standing.

         As an initial matter, Plaintiffs’ alleged First Amendment facial

   overbreathed claims against the School Board Defendants (see Doc. 1 at ¶ 12)

   (Plaintiffs alleging that the Challenged Provisions “as interpreted and enforced

   by the State of Florida violate the First Amendment because they are

   impermissibly overbroad content-based restrictions”) fail for lack of prudential

   standing. This is because the Challenged Provisions do not directly regulate

   Plaintiffs who are students, book publishers, and authors. See Mata Chorwadi,

   Inc. v. City of Boynton Beach, 66 F.4th 1259, 1265 (11th Cir. 2023) (finding that

   the hotel owners did not have prudential standing to assert overbreathed

   claims on behalf of hotel guests who were not regulated by the Code.).

         B.    Plaintiffs lack Article III standing: their injuries are not
               traceable to the School Board Defendants and will not be
               redressed by the relief Plaintiffs seek.

         Under the Supreme Court’s test to establish whether a plaintiff has

   Article III standing to bring asserted claims, a plaintiff must show (1) that

   plaintiff has suffered an injury-in-fact that is (2) traceable to the defendant

   and that (3) can likely be redressed by a favorable ruling. See Lujan v. Defs. of

   Wildlife, 504 U.S. 555, 560-61. The party invoking federal jurisdiction has the

   burden of proving standing. See id. at 561. And, because each element of

   standing “must be supported in the same way as any other matter on which

   the plaintiff bears the burden of proof, i.e., with the manner and degree of


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   evidence required at the successive stages of the litigation,” at the summary

   judgment stage, a plaintiff must establish standing under the heightened

   standard for evaluating a motion for summary judgment. Bischoff v. Osceola

   Cnty., Fla., 222 F.3d 874, 878 (11th Cir. 2000).

         The traceability and redressability prongs of standing analysis “often

   travel together,” and thus, “where a plaintiff has sued to enjoin a government

   official from enforcing a law, he must show, at the very least, that the official

   has the authority to enforce the particular provision that he has challenged,

   such that an injunction prohibiting enforcement would be effectual.” Support

   Working Animals, Inc. v. Governor of Florida, 8 F.4th 1198, 1201 (11th Cir.

   2021) (emphasis added).

         Here, Plaintiffs have not sued to enjoin the School Board Defendants

   from enforcing anything—neither the Challenged Provisions nor any school-

   board policy implementing those statutory provisions. Plaintiffs have not

   alleged any as-applied claims against the School Board Defendants either.

   Thus Plaintiffs’ grievance is squarely with section 1006.28 (2)(a)2.b(I),(II)

   itself—and to that end, in their “Prayer for Relief,” Plaintiffs seek the following

   declaratory relief from the Court:

               B.    “a declaratory judgment that Section 1006.28’s
         prohibition on content that “describes sexual conduct” is
         unconstitutional because it abridges rights protected by the First
         Amendment to the U.S. Constitution.”



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             C.    “a declaratory judgment that the term “pornographic”
       in Section 1006.28 is synonymous with the term “harmful to
       minors” as defined by Section 847.001(7) or, in the event the
       construction of the term “pornographic” as synonymous with the
       term “harmful to minors” is rejected, that Section 1006.28’s
       prohibition on “pornographic” content is unconstitutional because
       it abridges rights protected by the First Amendment to the U.S.
       Constitution.”

 (Doc. 1 at 92). Plaintiffs seek a declaration that the Challenged Provisions are

 facially unconstitutional. But that relief, sought in clams alleged against the

 School Board Defendants, even if granted, will not redress Plaintiffs’ alleged

 injury because the School Board Defendants do not and cannot interpret or

 construe the Challenged Provisions, and they cannot change those provisions

 either.

       In establishing traceability and redressability, the key questions are who

 caused the injury and how can it be remedied (Doc. 106 at 6; order denying

 motion to dismiss). Here, Plaintiffs challenge the “State Defendants’

 interpretation of the statute—contained in the objection form.” (Doc. 106 at 7).

 And, “[b]ecause the objection form is ‘prescribed by State Board of Education

 rule,’ pursuant to section 1006.28(2)(a)2. of the Florida Statutes, State

 Defendants are at the root of Plaintiffs’ alleged injury.” (Doc. 106 at 7). So, and

 as this Court has explained, “while it may be local officials that physically

 remove the books, it is the State Defendants’ interpretation of the statute—




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 contained in the objection form—that Plaintiffs’ challenge in this action.” (Doc.

 106, at 26).

       It is undisputed that the School Board Defendants are not able to change

 the state’s objection form. See Fla. Stat. § 1006.28 (2)(a)(2); Fla. Admin. Code

 r. 6A-7.0714(3)(c); see id at r. 6A-7.0714(3)(d). The School Board Defendants

 are powerless to do anything other than use the state-mandated objection form

 and follow Florida law.3 Plaintiffs argue that the School Board Defendants

 have been stripped of discretion when it comes to materials that should or

 should not be in school (see, e.g., Doc. 107 at 23), so as to make the point,

 themselves, that a declaration against the School Board Defendants—that the

 statute is unconstitutional and that the language in the objection form be

 changed to conform with a certain construction of terms in the statute—cannot

 redress Plaintiffs’ alleged injuries (the removal of certain books from school-

 library shelves).

       The declaratory-judgment relief that Plaintiffs seek in this case

 distinguishes this case from a case like Wood v. Florida Dep’t of Educ., 729 F.

 Supp. 3d 1255, 1269 (N.D. Fla. 2024), on which Plaintiffs rely, because there,


       3 “Laws are presumed to be, and must be treated and acted upon by

 subordinate executive functionaries as, constitutional and legal, until their
 unconstitutionality or illegality has been judicially established…” State ex rel.
 Atl. Coast Line R. Co. v. State Bd. of Equalizers, 94 So. 681, 685 (Fla. 1922).




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 unlike here, the plaintiff sought to enjoin the school-district defendants from

 actually enforcing the law that was at issue. No injunction is sought here.

 Rather, in each count alleged against the School Board Defendants, Plaintiffs

 summarily submit that “[d]eclaratory relief as to the constitutionality of Section

 1006.28’s prohibition” would afford Plaintiffs relief. (Doc. 1 at ¶¶ 234, 266,

 284) (emphasis added).4 But that conclusion overlooks the fact that the School

 Board Defendants cannot change the objection form; that they must use the

 objection form, that changes to the objection form must come from the State

 Defendants and presumably with new guidance on the required changes and

 how to implement those changes. Even this Court has noted that “the remedy

 sought by Plaintiffs amounts to a demand that the language in the objection

 form be altered. And that cannot be done unless State Defendants do so.” (Doc.

 106 at 8).

       Beyond theorizing that the requested declaratory judgments will

 “require [the School Board Defendants] to return books that they had

 previously removed” (Doc. 107 at 26), Plaintiffs supply no summary judgment

 evidence showing how the declaratory relief will actually and practically cause

 this to happen. Plaintiffs focus on reports showing books removed (see, e.g.,



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        Because Count V is a claim wherein the Plaintiffs ask the Court to
 construe the term “pornographic,” in that claim, Plaintiffs allege that
 declaratory relief as to the meaning of ‘pornographic’ would afford them relief.


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 Doc. 107-10-37, Plaintiffs’ Exhibit B), and while those reports may well support

 Plaintiffs’ alleged injury, they do not, without more, establish that the

 requested declaration against the School Board Defendants will cause any of

 the removed books to be re-shelved. See Support Working Animals, 8 F.4th at

 1205 (11th Cir. 2021) (“Standing’s redressability requirement mandates that

 it be likely, as opposed to merely speculative, that the injury will be redressed

 by a favorable decision.”) (internal quotation marks omitted).           Because

 sometimes “a favorable declaratory judgment ... cannot make even an

 unconstitutional statute disappear,” see W. Flagler Associates Ltd. v. DeSantis,

 568 F. Supp. 3d 1277, 1286 (N.D. Fla. 2021) (citing Steffel v. Thompson, 415

 U.S. 452, 469 (1974)) (alternation in original), Plaintiffs’ alleged injuries can

 be redressed only through relief against the State Defendants. For these

 reasons, Plaintiffs lack standing to sue the School Board Defendants and

 summary judgment should be entered in favor of the School Board Defendants

 on all of Plaintiffs’ claims alleged against them.

       II.   The School Board Defendants’ merits arguments.

       On the merits of Plaintiffs’ alleged claims, the School Board Defendants

 defer to those arguments made by the State Defendants in their Motion for

 Summary Judgment. Specifically, the School Board Defendants defer to the

 State Defendants’ merits-arguments made in Sections IV and V of their

 summary judgment motion. Such deferral by the School Board Defendants is


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 warranted under Florida Statute § 1001.42(15) which “require[s] that all laws

 and rules of the State Board of Education or of the district school board are

 properly enforced.” School boards must comply with the laws as adopted by the

 legislature and as interpreted by the State Board of Education.

       Plaintiffs are mindful of Local Rule 3.01(f)’s prohibition on incorporating

 parts of any other motion, legal memorandum, or brief, and that rule’s intent

 to, for example, guard against a party exceeding applicable page-limits by

 incorporation, or creating a messy docket via internal cross references to

 external docket materials. Here, however, the School Board Defendants seek

 to defer to the State Defendants’ defense and interpretation of the state

 statute, and ask the Court to temporarily modify or suspend the application of

 Local Rule 3.01(f) to the extent that the Court views the School Board

 Defendants’ deferral in this instance to implicate Rule 3.01(f). See Local Rule

 1.01(b) (allowing the Court to temporarily modify or suspend the application of

 any rule, except Local Rule 1.05(a)).

       Finally, if the Court requires the School Board Defendants’ to reproduce,

 in this filing, the State Defendants’ merits arguments, the School Board

 Defendants respectfully request leave to re-file this motion so that they can

 reproduce (i.e., cut-and-paste) those arguments into this Motion. The School

 Board Defendants submit that so doing, would not exceed the 50-page limit for

 this filing. (see Doc. 104).


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       WHEREFORE, the School Board Defendants respectfully request that

 the Court grant summary judgment in their favor, and against Plaintiffs, on

 all of Plaintiffs’ claims alleged against them.

 Dated this 1st day of April, 2025.

                                      /s/Sheena A. Thakrar
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                                      Defendants




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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of April, 2025, a true and

 correct copy of the foregoing was filed via the CM/ECF system, which will

 provide electronic notice to all counsel of record.

                                       /s/Sheena A. Thakrar
                                       SHEENA THAKRAR (FL BAR #871141)




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